Case 1-24-41009-nNAl DOC 22 Filed Vo/2Z0/24 Entered Vo/co/c4 Loi4oiol

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Case No: 24-41689-nhl!
Case Name: Royal Development Inc

Chapter 11
Debtor’s address: 9829 Ditmas Ave
Brooklyn NY 11235

June 24, 2024

Corporate Resolution

This is a Corporate Resolution, by the above Corporation, authorizing and consenting to the

filing of a Bankruptcy Chapter 11 Voluntary Petition, under that Chapter 11 of the Bankruptcy
Code,

There is one sole owner and 100% shareholder of this corporation who is fully authorized to
initiate the filing and said toolc place with his full consent.

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Viadimir Furleiter
President of Royal Development Inc,

